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Home > About Our Party

WHO WE ARE

Initially united in 1854 by the pramise to abolish slavery, the Republican Party has always stood for freedom, prosperity, and opportunity.
Today, as those principles come under attack from the far-left, we are engaged ina national effort to fight for our proven agenda, take our
message to every American, grow the party, promote election integrity, and elect Republicans up and down the ballot. The principles of the
Republican Party recognize the God-given liberties while promoting opportunity for every American.

EXHIBIT

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OUR PLATFORM

Repulslicans believe in liberty. economic orosperiLy, preserving American values and traditions. and restoring the American dream for every
citizen of this great nation. As a party. we support policies that seek to achieve those goals,

Our platform is centered on scimulacing economic growth for all Americans, procecting constitucionally-g teed freedoms, ensuring the
integrity of our elections, and maintaining our national security, We are working co preserve America’s greatness tor our children ane
grandchildren.

The Republican Parry's leg ; re originally founded in 1854 for che purpose of ending slavery -- compels us co atriotically defend
Ame s values. As che left alcempts to destroy what makes Ameri t, che Republican Party is standing in the br

and way of life

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OUR RULES &
RESOLUTIONS

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